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                                                    RETURN OF SERVICE

                                       UNITED STATES DISTRICT COURT
                                           Southern District of Florida
Case Number: 18-CV-81038-DMM

Plaintiff:
Securities and Exchange Commission
VS .

Defendant:
Palm House Hotel, LLLP; et al

For:
U.S. Securities and Exchange Commission
100 F St NE
Washington, DC 20549

Received by Cavalier Courier & Process Service to be served on United States Regional Economic Development
Authority, LLC, d/b/a EB5 Petition, Registered Agent: Registered Agents, Inc., 3030 N. Rocky Point Dr., Suite 150 A,
Tampa, FL 33607.

I, Don Austin , do hereby affirm that on the 7th day of August, 2018 at 12:00 pm, I:

Served Summons in a Civil Action; Complaint; Notice of Judge Assignment personally to Laurie Hart as authorized
recipient for registered agent of United States Regional Economic Development Authority, LLC, d/b/a EB5 Petition.
Service occurred at Registered Agent: Registered Agents, Inc., 3030 N. Rocky Point Dr., Suite 150 A , Tampa , FL 33607.


I am a natural person over the age of eighteen and am not a party to or otherwise interested in the subject matter in
controversy. I am a private process server authorized to serve this process in accordance with relevant law. Under penalty of
perjury, I declare that the foregoing is true and correct.




                                                                                             Cavalier     rier & Process Service
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